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AO 440(Revy, 6/12).Summons in a Civil Action (Page 2)

Civil Action No. 2:20-cv-06298 RGK (Ex)

PROOF OF SERVICE
i. (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

' This summons for (name of individual and title, if any) Okularity, Inc
. was received by me on July 21, 2020

\ wo
: [JI personally served the Service Documents on the individual at. ion

(J I left the Service Documents at the individual's residence or usual place of abode with

,a person of
suitable age and discretion who resides there, on (date) , and mailed a copy to the individual's last known address; :
or

: 4 I served the Summons In A Civil Action; Complaint; Civil Cover Sheet; Notice of Assignment to United States.
Judges; Notice to Parties of Court-Directed ADR Program to Madeline P. as Receptionist and person authorized to ,
accept - , who is designated by law to accept service of process on behalf of Okularity, Inc on July 27, 2020 11:39

~’ [I returned the Summons In A Civil Action; Complaint; Civil Cover Sheet; Notice of Assignment to United States |”
"Judges; Notice to Parties of Court-Directed ADR Program unexecuted because: ,

- My fees are $ .00.for travel and $ 69.00 for services, for a total of $ 69.00

| declare ‘under penalty of perjury that this information is true.

Date: 8/3/2020 pe tlh, ;

Server's signature

Bonita Haller, Registered Process Server
Printed name and title

 

Contracted by Amstar Express, Inc
509 Marin Street, # 237,
_. Thousand Oaks, CA 91360

(888) 778-2711
Server's Address

A0440-A19370 ;

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